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                              UNITED STATES OF AMERICA
                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION




UNITED STATES OF AMERICA,           )
                                    )
            Plaintiff,              )                 Case No. 1:16-cr-00037
                                    )
v.                                  )                 Honorable Janet T. Neff
                                    )
EDWARD WARDEN, JR.,                 )
                                    )
            Defendant.              )
____________________________________)


                             REPORT AND RECOMMENDATION

        Pursuant to W.D. MICH. L.CR.R. 11.1, I conducted a plea hearing in the captioned case on

May 4, 2016, after receiving the written consent of defendant and all counsel. At the hearing,

defendant Edward Warden, Jr. entered a plea of guilty to the single charge in the Indictment in

exchange for the undertakings made by the government in the written plea agreement. In the

Indictment, defendant is charged with conspiracy to defraud the United States through the filing of

false claims in violation of 18 U.S.C. § 286. On the basis of the record made at the hearing, I find

that defendant is fully capable and competent to enter an informed plea; that the plea is made

knowingly and with full understanding of each of the rights waived by defendant; that it is made

voluntarily and free from any force, threats, or promises, apart from the promises in the plea agree-

ment; that the defendant understands the nature of the charge and penalties provided by law; and that

the plea has a sufficient basis in fact.
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       Accordingly, I recommend that defendant's plea of guilty to the single charge in the

Indictment be accepted, that the court adjudicate defendant guilty, and that the written plea

agreement be considered for acceptance at the time of sentencing. Acceptance of the plea,

adjudication of guilt, acceptance of the plea agreement, and imposition of sentence are specifically

reserved for the district judge.



Date: May 4, 2016                              /s/ Phillip J. Green
                                              PHILLIP J. GREEN
                                              United States Magistrate Judge




                                      NOTICE TO PARTIES

       You have the right to de novo review of the foregoing findings by the district judge. Any
application for review must be in writing, must specify the portions of the findings or proceedings
objected to, and must be filed and served no later than14 days after the plea hearing. See W.D.
MICH. L.CR.R. 11.1(d).




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